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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                        CRIMINAL ACTION

 VERSUS                                                          NO. 14-153

 AKARI WILLIAMS, ET AL.                                          SECTION: “E” (4)


                                ORDER AND REASONS
        Before the Court is the Government’s motion in limine to preclude the Defense

from relitigating suppression motions at trial. 1 The motion is opposed. 2

        On June 27, 2016, the Court issued an Order denying Defendant Philips

Thompson’s motion to suppress all evidence, and any fruits thereof, obtained through the

May 27, 2014 search of a package, and through the July 22, 2014 seizure of Thompson’s

cell phone. 3 The Court made three findings: (1) Defendant Thompson did not have

standing to object to the search of the package, (2) the search of the package by the UPS

store owner did not violate the Fourth Amendment, and (3) although the warrant to seize

Thompson’s phone was invalid, the seizure was permissible under the Fourth

Amendment under the plain-view exception.4

        The Government now seeks to preclude the Defendants from “relitigating

suppression motions at trial.” 5

        1. The Government seeks to exclude any argument that the relationship between

             the UPS store and the San Bernardino Sheriff’s deputies amounted to an agency




1 R. Doc. 164.
2 R. Doc. 173.
3 R. Doc. 118.
4 See generally id.
5 R. Doc. 164.
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             relationship. 6 The Defendants contend the nature of the UPS store owner’s

             relationship with the San Bernardino Sheriff’s deputies is relevant to establish

             the store owner’s motivation, bias, and credibility.7 The Court has already held

             that the relationship between the UPS store owner and the government did not

             amount to an agency relationship.8 Accordingly, the Government’s motion with

             respect to any argument that the UPS store owner and the government engaged

             in an agency relationship is GRANTED.

        2. The Government seeks to exclude any inquiry into the UPS store owner’s prior

             history of reporting suspicious packages to law enforcement. 9 The Defendants

             contend the store owner’s prior history of reporting suspicious packages is

             relevant to her credibility because she gave conflicting accounts of how she

             handled and reported the package in this case.10 The Government’s motion with

             respect to excluding any inquiry into the UPS store owner’s prior history of

             reporting suspicious packages to law enforcement is DENIED. The

             Defendants may address on cross-examination the UPS store owner’s prior

             history of reporting suspicious packages for the purposes of attacking her

             credibility, impeachment, and attacking the adequacy of the chain of custody. 11




6 R. Doc. 164-1 at 7.
7 R. Doc. 173 at 6.
8 R. Doc. 118 at 15–20.
9 R. Doc. 164-1 at 7.
10 R. Doc. 173 at 6.
11 See Davis v. Alaska, 415 U.S. 308, 318 (1974) (“[D]efense counsel should [be] permitted to expose to the

jury the facts from which jurors, as the sole triers of fact and credibility, could appropriately draw inferences
relating to the reliability of the witness.”); U.S. v. Hall, 653 F.2d 1002, 1007–08 (5th Cir. 1981) (“A trial
court has considerable discretion in limiting the scope and extent of cross-examination in a criminal trial,
so long as the defendant’s sixth amendment right of confrontation is not impinged.”).
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        3. The Government seeks to exclude any inquiry into the UPS store owner’s

             motivation in reporting the suspicious package to law enforcement. 12 The

             Defendants contend this speaks to the store owner’s credibility. 13 The

             Government’s motion with respect to excluding any inquiry into the UPS store

             owner’s motivation in reporting the suspicious package to law enforcement is

             DENIED. The Defendants may address on cross-examination the UPS store

             owner’s motivation in reporting the suspicious package for the purposes of

             attacking her credibility, impeachment, and attacking the adequacy of the chain

             of custody.14

        4. The Government seeks to exclude any argument that law enforcement officers

             improperly obtained a search warrant from a Terrebonne Parish judge to seize

             property in another parish. 15 Although the Defendants represent they will not

             argue the constitutionality of the search, the Defendants contend they can

             introduce the law enforcement officers’ mistaken acts and omissions.16 The

             Government’s motion with respect to excluding any argument that law

             enforcement officers improperly obtained a search warrant is GRANTED.

             Agent Hornsby’s failure to obtain a warrant in the parish in which he

             effectuated the seizure of Thompson’s phone bears little relevance under




12 R. Doc. 164-1 at 7.
13 R. Doc. 173 at 6.
14 See Davis v. Alaska, 415 U.S. 308, 318 (1974) (“[D]efense counsel should [be] permitted to expose to the

jury the facts from which jurors, as the sole triers of fact and credibility, could appropriately draw inferences
relating to the reliability of the witness.”); U.S. v. Hall, 653 F.2d 1002, 1007–08 (5th Cir. 1981) (“A trial
court has considerable discretion in limiting the scope and extent of cross-examination in a criminal trial,
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15 R. Doc. 164-1 at 7.
16 R. Doc. 173 at 6–7.
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             Federal Rule of Evidence 401 to the chain of custody of the package of drugs. 17

             Even if questions with respect to Agent Hornsby’s “sloppy police work” have

             some probative value, the Court finds this evidence would “shift[] the jury’s

             focus from the accusations against [the Defendants] to accusations against the

             police,”18 creating a danger of unfair prejudice and jury confusion that

             substantially outweighs the probative value.19

        5. The Government seeks to exclude any argument that law enforcement officers

             did not have probable cause to believe Thompson’s phone contained evidence

             of a crime. 20 The Defendants responded that they do not intend to make this

             argument at trial. 21 Accordingly, the Government’s motion with respect to this

             argument is GRANTED.

        6. The Government seeks to exclude any argument that officers otherwise

             unconstitutionally seized the package of methamphetamine or Thompson’s cell

             phone.22 The Defendants responded that they do not intend to make this

             argument at trial. 23 Accordingly, the Government’s motion with respect to this

             argument is GRANTED.

        7. The Government seeks to exclude any argument that the search warrants in this

             case were otherwise invalid.24 Although the Defendants represent they will not

             argue the constitutionality of the search, the Defendants contend they can



17 U.S. v Patrick, 248 F.3d 11, 22 (1st Cir. 2001) (citing U.S. v. Veal, 23 F.3d 985, 989 (6th Cir. 1994) (“Merely

showing that an investigation is sloppy does not establish relevance.”).
18 Patrick, 248 F.3d at 23.
19 FED. R. EVID. 403.
20 R. Doc. 164-1 at 7.
21 R. Doc. 173 at 7.
22 R. Doc. 164-1 at 7.
23 R. Doc. 173 at 7.
24 R. Doc. 164-1 at 7.
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             introduce the mistaken acts and omissions of the law officers involved in the

             seizure of Thompson’s phone.25 The Government’s motion with respect to

             excluding any argument that the search warrants were invalid is GRANTED. 26


        New Orleans, Louisiana, this 6th day of November, 2016.


                         ____________   _______ _________
                                  SUSIE MORGAN
                           UNITED STATES DISTRICT JUDGE




25 R. Doc. 173 at 6–7.
26 See the Court’s ruling in section 4 with respect to the relevance of the officer’s mistaken acts and

omissions.
